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1

2                                UNITED STATES DISTRICT COURT

3                               EASTERN DISTRICT OF CALIFORNIA

4

5    UNITED STATES OF AMERICA,                        No. 2:15-cr-190-GEB
6                       Plaintiff,
7            v.                                       TRIAL CONFIRMATION ORDER
8    JOHN MICHAEL DICHIARA, et.
     al.,
9
                        Defendants.
10

11

12                 Trial        in    the     above-captioned          case,     scheduled        to

13   commence at 9:00 a.m. on September 12, 2017, was confirmed at

14   the hearing held on August 11, 2017.

15                                     EVIDENTIARY DISPUTES

16                 All    evidentiary          disputes       capable    of    being     resolved

17   by in limine motions shall be filed no later than August 18,

18   2017.        Oppositions          to     the    motions      or    statements       of     non-

19   opposition shall be filed no later than August 25, 2017.                                    Any

20   reply shall be filed no later than September 1, 2017.

21                 Any     reasonably          anticipated        dispute      concerning        the

22   admissibility of evidence that is not briefed in an in limine

23   motion       shall    be    included       in        trial   briefs.       E.D.     Cal.     R.

24   285(a)(3).

25                                          TRIAL PREPARATION

26                 A.      No later than five court days before the trial

27   commencement date, the following documents shall be filed:

28                         (1)       proposed       jury    instructions       and   a   proposed
                                                      1
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1    verdict form (and the Courtroom Deputy shall be emailed a Word

2    version of the documents);

3                     (2)    proposed voir dire questions to be asked by

4    the Court;

5                     (3)    trial briefs; and

6                     (4)    a   joint     statement     or    joint    proposed      jury

7    instruction that can be read to the jury during voir dire that

8    explains the nature of the case.

9                B.   The    government’s        exhibits       shall     be   numbered

10   with stickers.    Should a defendant elect to introduce exhibits at

11   trial, such exhibits shall be designated by alphabetical letter

12   with stickers.    The parties may obtain exhibit stickers from the

13   Clerk’s Office.    The government shall file an exhibit list and a

14   witness list as soon as practicable.

15               C.   All parties, except for pro se Defendant Larry

16   Todt, estimated    it    will    take    nine   (9)      court days to present

17   evidence to the jury and to complete closing arguments.                     Pro se

18   Defendant Larry Todt did not respond to the question inquiring

19   about the estimated length of trial.            Trial will be conducted on

20   Tuesdays,    Wednesdays,        and     Thursdays        from     9:00    a.m.     to
21   approximately 4:30 p.m.         If trial is not completed by September

22   29, 2017, trial will resume on October 17, 2017, at 9:00 a.m.

23   Each party has fifteen (15) minutes for voir dire, which may

24   be used after the judge completes judicial voir dire.                      Two (2)

25   alternate jurors will be impaneled, if feasible.

26               The “struck jury” system will be used to select the
27   jury.   See generally Powers v. Ohio, 499 U.S. 400, 404–05 (1991)

28   (“[T]he . . . struck jury system . . . start[s] with about 3[6]
                                             2
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1    potential   jurors,      from      which   the      defense   and   the     prosecution

2    alternate[]      with    strikes       until    a   petite    panel    of    12   jurors

3    remain[s].”).      Under this system, approximately 36 venire persons

4    are brought into the courtroom and placed in seats corresponding

5    to the order in which they were randomly selected by the computer

6    system utilized by the Jury Administrator.                    The Courtroom Deputy

7    gives each potential juror a large laminated card depicting the

8    numerical     order     in     which    the     potential     juror    was     randomly

9    selected.

10               Following        the   voir    dire      questioning      of    all   venire

11   persons brought into the courtroom, each side will take turns

12   exercising peremptory challenges.                   When exercising a peremptory

13   challenge, each side writes on the Strike Sheet provided by the

14   court the seat number of the potential juror that side elects to

15   strike.     If    a     side    elects     to    pass   rather      than    exercise   a

16   particular peremptory challenge, that side shall write the word

17   “pass” on the Strike Sheet for that peremptory challenge, which

18   waives that challenge for the then-constituted jury panel.                           See

19   United States v. Yepiz, 685 F.3d 840, 845–46 (9th Cir. 2012)

20   (indicating the “‘use it or lose it’ voir dire [waiver] practice”
21   is authorized if “the composition of the panel” does not change).

22   After the petit jury is selected, each side then selects the

23   alternate jurors.

24               After the jury retires to deliberate, the alternate

25   jurors are no longer required to appear in court unless directed

26   to appear by the Courtroom Deputy for the purpose of replacing a
27   juror.

28               D.     If any party desires training on the court’s audio
                                                3
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1    visual   equipment,    that   party     should    contact     Richard    Arendt

2    (rarendt@caed.uscourts.gov)       in     the     IT   Department    to     make

3    arrangements   for    training.        The   courtroom   is    available   for

4    training Monday through Thursday between 8:00 and 8:30 a.m.                 If

5    training is not needed and a party wants to test the equipment,

6    this can be done the morning of trial between 8:00 and 8:30 a.m.

7              E.    Each party has fifteen (15) minutes to make an

8    opening statement.

9              F.    After closing jury instructions, the judge intends

10   to communicate as follows with the Court Security Officer and the

11   jury:

12                  The Courtroom Deputy shall administer
               the oath to the United States Court Security
13             Officer.
14                  The jury may take a break and/or break
               for a meal, without consulting me; the breaks
15             are under your general supervision.    If the
               jury adjourns for lunch, a Court Security
16             Officer shall immediately tell the Courtroom
               Deputy so that my staff, the lawyers, the
17             parties, and I can be relieved from standby
               status while the jury adjourns deliberations.
18
                    Should the jury adjourn later today,
19             jurors are permitted tomorrow to proceed
               directly to the jury deliberation room, but
20             jurors are to wait until all jurors are
               present before resuming deliberations because
21             all jurors must be present when the jury
               deliberates. Jury deliberations shall occur,
22             as needed, until 4:30 p.m. when the jury
               shall adjourn for the evening; and the jury
23             shall resume deliberations the next day
               commencing at 9:00 a.m.
24
                    A Court Security Officer will maintain a
25             post outside the jury deliberation room to
               protect the jury from outside influences or
26             visitors.   The Court Security Officer will
               not communicate with a juror about the case
27             or    the   court    system   because    such
               conversations could be misconstrued as a
28             communication that seeks to influence a
                                     4
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1              juror.   What I just said does not apply to
               any note that a juror or the jury gives to
2              the Court Security Officer, because the juror
               and/or the jury is required to tell the Court
3              Security Officer that the jury has a note for
               the Judge. The Court Security Officer shall
4              take possession of the note, and then
               immediately call the Courtroom Deputy so that
5              she can obtain the note from the Court
               Security Officer and give it to me.
6
                    Each juror may continue possessing his
7              or her cell phone or other communication
               device, but that device shall be turned off
8              when the jury is engaged in deliberation.
               The Court Security Officer shall escort
9              the jurors to the jury deliberation room.

10             G.    Further, the Court intends to         tell the alternate

11   jurors what follows:

12                  Under federal law, an alternate juror
               can only go into the jury deliberation room
13             if the alternate juror replaces a juror.
               Therefore, you may leave the courthouse now
14             and do what you normally do when you are not
               on a jury.     However, you are bound by the
15             admonitions I gave in the jury instructions,
               since you may eventually replace one of the
16             deliberating jurors.    If you are needed to
               replace a juror, the Courtroom Deputy will
17             tell you to appear in this courtroom.
               Provide the Courtroom Deputy with your
18             contact information before you leave the
               courtroom.    If the trial is resolved, the
19             Courtroom Deputy will inform you that you are
               discharged from further service on this case
20             and you are released from the admonitions,
               including the directive that you not talk to
21             others about this case.    In the event I do
               not see you again, thank you for your service
22             on this case.

23             Any objection to or proposed modification to either or

24   both communications in sections F and G shall be filed no later

25   than five (5) days after this order is filed.

26             Dated:    August 15, 2017

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